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				IN RE AMENDMENTS TO RULE 25 RULES OF STATE BD. OF EXAMINERS OF CERTIFIED SHORTHAND REPORTERS2017 OK 79Decided: 10/09/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 79, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



In re: Amendments to Rule 25, Rules of the State Board of Examiners of Certified Shorthand Reporters, 20 O.S. Supp. 2013, ch. 20, app. 1




ORDER


Rule 25 of the Rules of the State Board of Examiners of Certified Shorthand Reporters, 20 O.S. Supp. 2013, ch. 20, app. 1, is hereby amended as shown on the attached Exhibit "A." Rule 25 with the amended language noted is attached as Exhibit "B." The amended rule is effective immediately.

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 9th day of October, 2017.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR




&nbsp;

Rules of the State Board of Examiners of Certified Shorthand Reporters
Chapter 20, App. 1
Rule 25. Temporary Permits.

A. In conjunction with the process outlined in 20 O.S. § 106.3B, all applicants for temporary permit shall file with the Board a properly completed application for temporary permit, along with any other supporting documents or information required by the Board. The Board shall, as soon as practicable, report its recommendation on such application for temporary permit to the Chief Justice, together with a copy of such application.

B. Persons holding temporary permits are expected to work diligently toward building the speed and professional competence necessary to pass the CSR examination. Supervising judges are encouraged to support the professional development efforts of temporary permit holders, including providing access to a variety of docket assignments and allowing for mentorship from seasoned court reporters.

Exhibit "A"

&nbsp;


&nbsp;

Rules of the State Board of Examiners of Certified Shorthand Reporters
Chapter 20, App. 1
Rule 25. Temporary Permits.

A. In conjunction with the process outlined in 20 O.S. § 106.3B, Temporary permits to practice certified shorthand reporting until the conclusion of the next succeeding certified shorthand reporter (CSR) examination and report of the results thereof may be granted upon the recommendation of the Board after a showing of public convenience and necessity provided the applicant has not previously failed to complete satisfactorily the CSR examination. Aall applicants for temporary permit shall file with the Board an properly completed application for temporary permit, along with any other supporting documents or information required by the Board. in addition to the regular application for the CSR examination. The Board shall, as soon as practicable, report its recommendation on such application for temporary permit to the Chief JusticeSupreme Court, together with a copy of such application.

B. Persons holding temporary permits are expected to work diligently toward building the speed and professional competence necessary to pass the CSR examination. Supervising judges are encouraged to support the professional development efforts of temporary permit holders, including providing access to a variety of docket assignments and allowing for mentorship from seasoned court reporters. The temporary permit of any person who takes the CSR examination shall expire on the date that the successful applicants at that examination are enrolled provided that the temporary permit of any person who fails the examination shall be revoked immediately upon the announcement of the results of such examination by the Board.

Exhibit "B"





	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
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		Level
	
	
	Title 20. Courts
&nbsp;CiteNameLevel

&nbsp;20 O.S. Rule 25, Temporary PermitsCited


	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	None Found.
	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
